             Case: 1:13-cr-00105 Document #: 179 Filed: 07/27/15 Page 1 of 1 PageID #:1279
O AO 245A (Rev. 12/03) Judgment of Acquittal


                                     UNITED STATES DISTRICT COURT
                          Northern                              DISTRICT OF            Illinois, Eastern Division

          UNITED STATES OF AMERICA
                                                                          JUDGMENT OF ACQUITTAL
                              V.

                  Chinyere Alex Ogoke
                                                                          CASE NUMBER: 13 CR 105-2




       The Defendant was found not guilty. IT IS ORDERED that the Defendant is acquitted, discharged,
and any bond exonerated.




Signature of Judge

 Ronald A. Guzman                               U.S. District Court
Name of Judge                                  Title of Judge

7/27/2015
                                   Date




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